Case 20-10343-LSS   Doc 7565-2   Filed 12/05/21   Page 1 of 10




           Exhibit A
                                   Case 20-10343-LSS            Doc 7565-2         Filed 12/05/21       Page 2 of 10

                                   BSA: CHART OF EMAIL CORRESPONDENCE REGARDING TDPS

                                                                                                                                                       TDP
         Date        Sent By                                       Received By                                                  Subject            Attachment
                                                                                                                                                      (Y/N)
1.    2/2/21    David Molton        Michael Andolina, Jessica Lauria, Matthew Linder, Sunni Beville, Eric          Term Sheet                           Y
                                    Goodman, Tristan Axelrod, Michael Atkinson
2.    4/10/21   Eric Goodman        Michael Andolina, Jessica Lauria, Kevin Carey, Paul Finn, Timothy Gallagher,   FW: Revised Plan Term Sheet         Y
                                    Robert Brady, Ed Harron, James Patton, Kami Quinn, Emily Grim
3.    4/10/21   Michael Andolina    David Molton, Eric Goodman, Andrew O’Neill, Jessica Lauria, Matthew            Mediation Communication - TDP       Y
                                    Linder
4.    4/14/21   Eric Goodman        Blair Warner, Michael Andolina, Matthew Linder                                 TDP                                 N
5.    4/14/21   Blair Warner        Eric Goodman, Michael Andolina, Matthew Linder                                 RE: TDP                             Y
6.    5/5/21    Matthew Linder      David Molton, Eric Goodman, Robert Brady, Ed Harron, Kenneth Enos,             BSA TDP                             Y
                                    Jessica Lauria, Michael Andolina, Andrew O’Neill, Laura Baccash, Blair
                                    Warner, Ernest Martin, Adrian Azer
7.    5/6/21    Eric Goodman        Andrew O’Neill, David Molton, Jessica Lauria, Matthew Linder, Michael          Eric Goodman’s Zoom Meeting         N
                                    Andolina, Ed Harron, Robert Brady
8.    5/6/21    Matthew Linder      Eric Goodman, David Molton, Jessica Lauria, Michael Andolina, Ed Harron,       RE: Eric Goodman’s Zoom             N
                8:24 am             Robert Brady, Andrew O’Neill                                                   Meeting
9.    5/6/21    Matthew Linder      Eric Goodman, David Molton, Jessica Lauria, Michael Andolina, Ed Harron,       RE: Eric Goodman’s Zoom             N
                9:13 am             Robert Brady, Andrew O’Neill, Laura Baccash, Blair Warner                      Meeting
10.   5/12/21   Jessica Lauria      Eric Goodman, Michael Andolina, David Molton, Andrew O’Neill, Matthew          RE: Restructuring Support           Y
                                    Linder, Laura Baccash, Adrian Azer, Ernest Martin                              Agreement
11.   5/14/21   Matthew Linder      Robert Brady, Kenneth Enos, Jessica Lauria, Michael Andolina, Andrew           BSA - RSA, CAP and Plan             Y
                                    O’Neill, Laura Baccash, Ernest Martin, Adrian Azer
12.   5/14/21   Matthew Linder      Robert Brady, Kenneth Enos, Jessica Lauria, Michael Andolina, Andrew           RE: BSA - RSA, CAP and Plan         N
                                    O’Neill, Laura Baccash, Ernest Martin, Adrian Azer
13.   5/22/21   James Stang         Tim Gallagher, Kevin Carey, Paul Finn, Richard Mason, Joseph Celentino,        BSA mediation                       N
                                    Michael Andolina, Jessica Lauria, Robert Brady, Ed Harron, David Molton,
                                    Eric Goodman, CASE-BSA-REVCommitteeMembersCounsel@pszjlaw.com,
                                    BSA-CommitteeMembers@pszjlaw.com
14.   5/26/21   Eric Goodman        Jessica Lauria, Michael Andolina, David Molton, Kevin Carey                    Initial Comments to Claims          Y
                                                                                                                   Resolution Procedures
15.   5/27/21   Anne Andrews        Michael Andolina, Sean Higgins, Ryan McIntosh, Daniel Lapinski, Krisell        Meeting on the BSA TDP              N
                                    Velasquez, Joseph Steinfeld, Adam Slater, Ken Rothweiler, Eric Goodman,
                                    Michael Atkinson, David Molton
16.   5/27/21   Michael Andolina    Michael Andolina, Sean Higgins, Ryan McIntosh, Daniel Lapinski, Krisell        Re: Meeting on the BSA TDP          N
                                    Velasquez, Joseph Steinfeld, Adam Slater, Ken Rothweiler, Eric Goodman,
                                    Michael Atkinson, David Molton, Jessica Lauria, Andrew O’Neill, Adrian
                                    Azer
                                 Case 20-10343-LSS           Doc 7565-2        Filed 12/05/21        Page 3 of 10
17.   5/27/21   Anne Andrews     Michael Andolina, Sean Higgins, Ryan McIntosh, Daniel Lapinski, Krisell       Re: Meeting on the BSA TDP         N
                                 Velasquez, Joseph Steinfeld, Adam Slater, Ken Rothweiler, Eric Goodman,
                                 Michael Atkinson, David Molton, Jessica Lauria, Andrew O’Neill, Adrian
                                 Azer
18.   5/27/21   Ryan McIntosh    Michael Andolina, Anne Andrews, Sean Higgins, Daniel Lapinski, Krisell        RE: Meeting on the BSA TDP         Y
                                 Velasquez, Joseph Steinfeld, Adam Slater, Ken Rothweiler, Eric Goodman,
                                 Michael Atkinson, David Molton, Jessica Lauria, Andrew O’Neill, Adrian
                                 Azer, Stewart Eisenberg, Josh Schwartz
19.   5/28/21   Tuvia Sandler    Eric Goodman, David Molton, Kami Quinn, Ed Harron, Robert Brady, Jessica      BSA - Claims Allowance             Y
                                 Lauria, Michael Andolina, Andrew O’Neill, Matthew Linder, Laura Baccash,      Procedures
                                 Ernest Martin, Adrian Azer, Kevin Carey
20.   5/30/21   Eric Goodman     David Molton, Kami Quinn, Jeffrey Schulman, Gabriel LeChevallier, Jessica     Eric Goodman’s Zoom Meeting -      N
                                 Lauria, Michael Andolina, James Stang, John Lucas, Debra Grassgreen, Ernest   Claims Allowance Procedures
                                 Martin, Adrian Azer, Robert Brady, Ed Harron, Tuvia Sandler, Matthew Linder
21.   5/31/21   Eric Goodman     Jessica Lauria, Michael Andolina, Andrew O’Neill, David Molton, Sunni         BSA Claims Allowance               Y
                                 Beville, Tristan Axelrod, Rachel Mersky, Ed Harron, Robert Brady, Kami        Procedures
                                 Quinn, Emily Grim, Rob Orgel, Debra Grassgreen, James Stang, Jeffrey
                                 Schulman, John Lucas, Iain Nasatir
22.   6/7/21    Eric Goodman     Michael Andolina, Jessica Lauria, Andrew O’Neill, David Molton                Working Draft of CAP               Y

23.   6/8/21    Rob Orgel        Jessica Lauria, Michael Andolina, Richard Mason, Kami Quinn, Eric             BSA: TCC CAP Working Draft         Y
                                 Goodman, David Molton, Debra Grassgreen, Iain Nasatir, James Stang, John
                                 Lucas, Malhar Pagay, Ben Watson, Christopher Hurley, Courtney Kiehl,
                                 Darrow Anderson, Delia Wolff, Esther Panitch, Evan Smola, Jason Amala,
                                 Jeffrey Anderson, Jeffrey Schulman, Jordan Merson, Kirk Pasich, Matt
                                 Merson, Matthew Babcock, Michael Pfau, Mike Finnegan, Pat Stoneking, Paul
                                 Mones, Peter Janci, Sarah Cantos, Steve Crew, Steven Reich, Vincent Nappo,
                                 Will Stewart
24.   6/8/21    Matthew Linder   David Molton, Eric Goodman, Kami Quinn, Robert Brady, Ed Harron, Kevin        BSA - Preliminary Comments on      Y
                                 Carey, Paul Finn, Timothy Gallagher, Jessica Lauria, Michael Andolina,        Draft CAP
                                 Andrew O’Neill, Laura Baccash, Blair Warner, Ernest Martin, Adrian Azer,
                                 Brian Whittman
25.   6/9/21    Eric Goodman     Michael Andolina, Matthew Linder, Kami Quinn, David Molton                    Revised CAP                        Y

26.   6/10/21   Eric Goodman     Michael Andolina, Jessica Lauria, Matthew Linder, Adrian Azer, Jeffrey        Revised Trust Distribution         Y
                                 Schulman, James Stang, Rob Orgel, Debra Grassgreen, Kami Quinn, Emily         Procedures – Mediation Privilege
                                 Grim, Ed Harron, Robert Brady, David Molton
27.   6/13/21   Matthew Linder   David Molton, Eric Goodman, Richard Mason, William Sugdon, Joseph             BSA – Discuss Term Sheet and       N
                                 Celentino, Mitchell Levy, Jessica Lauria, Michael Andolina, Andrew O’Neill,   TDP
                                 Laura Baccash, Blair Warner, Ernest Martin, Adrian Azer, Brian Whittman,
                                 Carl Binggeli




                                                                          2
                                    Case 20-10343-LSS           Doc 7565-2        Filed 12/05/21        Page 4 of 10
28.   6/13/21    David Molton       Matthew Linder, Eric Goodman, Richard Mason, William Sugdon, Joseph           Re: BSA – Discuss Term Sheet      N
                                    Celentino, Mitchell Levy, Jessica Lauria, Michael Andolina, Andrew O’Neill,   and TDP
                                    Laura Baccash, Blair Warner, Ernest Martin, Adrian Azer, Brian Whittman,
                                    Carl Binggeli, Michael Atkinson, Gabriel LeChevallier, Kami Quinn, Robert
                                    Brady, Ed Harron
29.   6/14/21    Matthew Linder     David Molton, Eric Goodman, Richard Mason, William Sugden, Joseph             [Zoom] BSA - Discuss Term Sheet   N
                                    Celentino, Mitchell Levy, Jessica Lauria, Michael Andolina, Andrew O’Neill,   and TDP
                                    Laura Baccash, Blair Warner, Ernest Martin, Adrian Azer, Brian Whittman,
                                    Carl Binggeli, Michael Atkinson, Gabriel LeChevallier, Kami Quinn, Robert
                                    Brady, Ed Harron
30.   6/15/21    Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      2:31 pm
31.   6/15/21    Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      2:32 pm
32.   6/15/21    Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      7:04 pm
33.   6/17/21    Eric Goodman       Andrew O’Neill, Ed Harron, Joseph Celentino, Matthew Linder                   Eric Goodman’s Zoom Meeting       N

34.   6/17/21    Eric Goodman       Andrew O’Neill, Ed Harron, Joseph Celentino, Ed Harron                        Eric Goodman’s Zoom Meeting       N

35.   6/21/21    Eric Goodman       Andrew O’Neill, Matthew Linder, Jessica Lauria, Michael Andolina              TDP Mediation Privilege           N

36.   6/21/21    Matthew Linder     Eric Goodman, Andrew O’Neill, Jessica Lauria, Michael Andolina                RE: TDP Mediation Privilege       Y

37.   6/22/21    Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      9:00 pm
38.   6/22/21    Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      9:18 pm
39.   6/23/21    Joseph Celentino   Eric Goodman, Matthew Linder, Andrew O’Neill                                  [Zoom] BSA                        N

40.   6/23/21    Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      7:59 pm
41.   6/23/21    Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      8:55 pm
42.   6/23/21    Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      11:58 pm
43.   6/24/21    Matthew Linder     James Stang, Rob Orgel, John Lucas, Debra Grassgreen, Eric Goodman, Kami      TDP                               Y
                                    Quinn, Robert Brady, Andrew O’Neill, Adrian Azer, Laura Baccash, Blair
                                    Warner




                                                                             3
                                   Case 20-10343-LSS           Doc 7565-2        Filed 12/05/21        Page 5 of 10
44.   6/24/21   Matthew Linder     David Molton, Eric Goodman, Rob Orgel, Debra Grassgreen, Robert Brady,        [Zoom] BSA – Discuss TDP          N
                                   Ed Harron, Kami Quinn, Emily Grim, Richard Mason, Douglas Mayer, Joseph
                                   Celentino, Andrew O’Neill, Adrian Azer, Laura Baccash, Jessica Lauria,
                                   Michael Andolina, Blair Warner, Anne Andrews, Adam Slater, Josh Schwartz,
                                   James Stang, Michael T. Pfau, Jason Amala, Kirk Pasich, Evan Smola, Harris
                                   Junell, Iain Nasatir, Deborah Levy, John W. Lucas, Vincent Nappo, Daniel
                                   Lapinski, Timothy Peach, Jonathan Schulman, David Judd, Christopher Hurley
45.   6/25/21   Laura Baccash      James Stang, James Patton, David Molton, Kevin Carey, Jessica Lauria,         RE: Restructuring Support         N
                                   Michael Andolina, Matthew Linder, Blair Warner, Ernest Martin, Adrian Azer,   Agreement (Privileged)
                                   Brian Whittman, William Sugden, Mark Chehi, Joseph Celentino, Mitchell
                                   Levy, Debra Grassgreen, Rob Orgel, John Lucas, Robert Brady, Ed Harron,
                                   Sunni Beville, Eric Goodman
46.   6/25/21   Debra Grassgreen   Laura Baccash, James Stang, James Patton, David Molton, Kevin Carey,          RE: BSA - Restructuring Support   N
                                   Jessica Lauria, Michael Andolina, Matthew Linder, Blair Warner, Ernest        Agreement (Privileged)
                                   Martin, Adrian Azer, Brian Whittman, William Sugden, Mark Chehi, Joseph
                                   Celentino, Mitchell Levy, Debra Grassgreen, Rob Orgel, John Lucas, Robert
                                   Brady, Ed Harron, Sunni Beville, Eric Goodman
47.   6/25/21   Andrew O’Neill     Eric Goodman, Joseph Celentino, Jessica Lauria, Michael Andolina, Matthew     Comparison of BSA TDP             Y
                                   Linder, Laura Baccash, Adrian Azer, Ernest Martin                             Comments - DRAFT 06.24 and
                                                                                                                 BSA TDP Comments - DRAFT
                                                                                                                 06.pdf
48.   6/25/21   Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      2:14 pm
49.   6/25/21   Eric Goodman       Andrew O’Neill, Laura Baccash, Blair Warner, Joseph Celentino, Kami Quinn,    Eric Goodman’s Zoom Meeting       N
                                   David Molton
50.   6/25/21   Coalition          BSA and AHCLC – receive FTP file transfer                                     --                                Y
      2:50 pm
51.   6/25/21   Eric Goodman       Andrew O’Neill, Laura Baccash, Blair Warner, Joseph Celentino, Kami Quinn,    Eric Goodman’s Zoom Meeting       N
                                   David Molton
52.   6/25/21   Andrew O’Neill     Robert Brady                                                                  please                            N

53.   6/25/21   Robert Brady       Andrew O’Neill, Ed Harron, Kami Quinn                                         RE: please                        N

54.   6/25/21   Debra Grassgreen   Jessica Lauria, Michael Andolina, Andrew O’Neill, James Stang, John Lucas     FW: Comparison of BSA TDP         N
                                                                                                                 Comments - DRAFT 06.24 and
                                                                                                                 BSA TDP Comments - DRAFT
                                                                                                                 06.pdf
55.   6/25/21   Andrew O’Neill     Debra Grassgreen, Jessica Lauria, Michael Andolina, James Stang, John Lucas   RE: Comparison of BSA TDP         N
                                                                                                                 Comments - DRAFT 06.24 and
                                                                                                                 BSA TDP Comments - DRAFT
                                                                                                                 06.pdf
56.   6/26/21   Eric Goodman       Matthew Linder, Andrew O’Neill                                                TDP - Mediation Privilege         N



                                                                            4
                                 Case 20-10343-LSS           Doc 7565-2        Filed 12/05/21       Page 6 of 10
57.   6/26/21   Matthew Linder   Eric Goodman, Andrew O’Neill                                                  RE: TDP - Mediation Privilege       Y

58.   6/27/21   Matthew Linder   David Molton, Eric Goodman, Jessica Lauria, Michael Andolina, Andrew          BSA                                 Y
                                 O’Neill, Laura Baccash, Blair Warner, Ernest Martin, Adrian Azer
59.   6/27/21   Eric Goodman     Matthew Linder, Andrew O’Neill, Jessica Lauria, Joseph Celentino, David       Revised TDP - Mediation Privilege   Y
                                 Molton, Kami Quinn, John Lucas, James Stang, Rob Orgel, Debra Grassgreen
60.   6/28/21   Andrew O’Neill   Eric Goodman, Matthew Linder, Jessica Lauria, Joseph Celentino, David         RE: Revised TDP – Mediation         N
                                 Molton, Ed Harron, Robert Brady, Kami Quinn, John Lucas, James Stang, Rob     Privilege
                                 Orgel, Debra Grassgreen
61.   6/28/21   John Lucas       Andrew O’Neill, Eric Goodman, Matthew Linder, Jessica Lauria, Joseph          RE: Revised TDP – Mediation         Y
                                 Celentino, David Molton, Ed Harron, Robert Brady, Kami Quinn, John Lucas,     Privilege
                                 James Stang, Rob Orgel, Debra Grassgreen
62.   6/28/21   John Lucas       Andrew O’Neill, Eric Goodman, Matthew Linder, Jessica Lauria, Joseph          RE: Revised TDP – Mediation         Y
                                 Celentino, David Molton, Ed Harron, Robert Brady, Kami Quinn, John Lucas,     Privilege
                                 James Stang, Rob Orgel, Debra Grassgreen
63.   6/28/21   John Lucas       Andrew O’Neill, Eric Goodman, Matthew Linder, Jessica Lauria, Joseph          RE: Revised TDP – Mediation         Y
                                 Celentino, David Molton, Ed Harron, Robert Brady, Kami Quinn, John Lucas,     Privilege
                                 James Stang, Rob Orgel, Debra Grassgreen
64.   6/29/21   John Lucas       Andrew O’Neill, Eric Goodman, Matthew Linder, Jessica Lauria, Joseph          RE: Revised TDP - Mediation         Y
                                 Celentino, David Molton, Ed Harron, Robert Brady, Kami Quinn, James Stang,    Privilege
                                 Rob Orgel, Debra Grassgreen, Iain Nasatir
65.   6/28/21   Andrew O’Neill   Eric Goodman, Matthew Linder, Jessica Lauria, Joseph Celentino, David         RE: Revised TDP - Mediation         Y
                                 Molton, Ed Harron, Robert Brady, Kami Quinn, John Lucas, James Stang, Rob     Privilege
                                 Orgel, Debra Grassgreen
66.   6/29/21   Andrew O’Neill   John Lucas, Eric Goodman, Matthew Linder, Jessica Lauria, Joseph Celentino,   RE: Revised TDP - Mediation         Y
                                 David Molton, Ed Harron, Robert Brady, Kami Quinn, John Lucas, James          Privilege
                                 Stang, Rob Orgel, Debra Grassgreen
67.   6/29/21   John Lucas       Andrew O’Neill, Eric Goodman, Matthew Linder, Jessica Lauria, Joseph          RE: Revised TDP - Mediation         N
                                 Celentino, David Molton, Ed Harron, Robert Brady, Kami Quinn, James Stang,    Privilege
                                 Rob Orgel, Debra Grassgreen, Paul Mones, Evan Smola, Daniel Lapinski, Josh
                                 Schwartz, Ken Rothweiler
68.   6/29/21   Matthew Linder   David Molton, Eric Goodman, James Stang, John Lucas, Debra Grassgreen,        BSA - Term Sheet and Draft RSA      Y
                                 Rob Orgel, Robert Brady, Ed Harron, Kami Quinn, Emily Grim, Michael           Motion
                                 Atkinson, Matthew Babcock, Kevin Carey, Paul Finn, Timothy Gallagher,
                                 Jessica Lauria, Michael Andolina, Andrew O’Neill, Laura Baccash, Blair
                                 Warner, Ernest Martin, Adrian Azer, Brian Whittman, Carl Binggeli, Richard
                                 Mason, Will Sugden, Douglas Mayer, Joseph Celentino, Michael Levy
69.   6/29/21   Andrew O’Neill   Matthew Linder, David Molton, Eric Goodman, James Stang, John Lucas,          RE: BSA - Term Sheet and Draft      Y
                                 Debra Grassgreen, Rob Orgel, Robert Brady, Ed Harron, Kami Quinn, Emily       RSA Motion
                                 Grim, Michael Atkinson, Matthew Babcock, Kevin Carey, Paul Finn, Timothy
                                 Gallagher, Jessica Lauria, Michael Andolina, Laura Baccash, Blair Warner,
                                 Ernest Martin, Adrian Azer, Brian Whittman, Carl Binggeli, Richard Mason,
                                 Will Sugden, Douglas Mayer, Joseph Celentino, Michael Levy


                                                                          5
                                   Case 20-10343-LSS           Doc 7565-2        Filed 12/05/21       Page 7 of 10
70.   6/29/21   Joseph Celentino   Andrew O’Neill, Matthew Linder, David Molton, Eric Goodman, James Stang,      RE: BSA - Term Sheet and Draft   Y
                                   John Lucas, Debra Grassgreen, Rob Orgel, Robert Brady, Ed Harron, Kami        RSA Motion
                                   Quinn, Emily Grim, Michael Atkinson, Matthew Babcock, Kevin Carey, Paul
                                   Finn, Timothy Gallagher, Jessica Lauria, Michael Andolina, Laura Baccash,
                                   Blair Warner, Ernest Martin, Adrian Azer, Brian Whittman, Carl Binggeli,
                                   Richard Mason, Will Sugden, Douglas Mayer, Michael Levy
71.   6/29/21   Andrew O’Neill     Matthew Linder, David Molton, Eric Goodman, James Stang, John Lucas,          RE: BSA - Term Sheet and Draft   Y
                                   Debra Grassgreen, Rob Orgel, Robert Brady, Ed Harron, Kami Quinn, Emily       RSA Motion
                                   Grim, Michael Atkinson, Matthew Babcock, Kevin Carey, Paul Finn, Timothy
                                   Gallagher, Jessica Lauria, Michael Andolina, Laura Baccash, Blair Warner,
                                   Ernest Martin, Adrian Azer, Brian Whittman, Carl Binggeli, Richard Mason,
                                   Will Sugden, Douglas Mayer, Joseph Celentino, Michael Levy
72.   6/29/21   Eric Goodman       Andrew O’Neill, Matthew Linder, Jessica Lauria, David Molton, Ed Harron,      FW: Revised TDP - Mediation      Y
                                   Kami Quinn, Robert Brady, John Lucas, Robert Orgel, Debra Grassgreen,         Privilege
                                   Joseph Celentino, Richard Mason
73.   6/29/21   Andrew O’Neill     John Lucas, Eric Goodman, Matthew Linder, Jessica Lauria, Joseph Celentino,   RE: Revised TDP - Mediation      N
                                   David Molton, Ed Harron, Robert Brady, Kami Quinn, James Stang, Rob           Privilege
                                   Orgel, Debra Grassgreen, Paul Mones, Evan Smola, Daniel Lapinski, Josh
                                   Schwartz, Ken Rothweiler
74.   6/29/21   Rob Orgel          Eric Goodman, Andrew O’Neill, Matthew Linder, Jessica Lauria, Kami Quinn,     BSA: Revised TDP - Mediation     Y
                                   Ed Harron, Robert Brady, Joseph Celentino, Richard Mason, David Molton,       Privilege
                                   John Lucas, Debra Grassgreen, James Stang Iain Nasatir, Malhar Pagay
75.   6/29/21   Daniel Lapinski    Andrew O’Neill, John Lucas, Eric Goodman, Matthew Linder, Jessica Lauria,     RE: Revised TDP - Mediation      Y
                                   Joseph Celentino, David Molton, Ed Harron, Robert Brady, Kami Quinn,          Privilege
                                   James Stang, Rob Orgel, Debra Grassgreen, Paul Mones, Evan Smola, Daniel
                                   Lapinski, Josh Schwartz, Ken Rothweiler
76.   6/30/21   Andrew O’Neill     Daniel Lapinski, John Lucas, Eric Goodman, Matthew Linder, Jessica Lauria,    RE: Revised TDP - Mediation      N
                                   Joseph Celentino, David Molton, Ed Harron, Robert Brady, Kami Quinn,          Privilege
                                   James Stang, Rob Orgel, Debra Grassgreen, Paul Mones, Evan Smola, Josh
                                   Schwartz, Ken Rothweiler
77.   6/30/21   Andrew O’Neill     James Stang, Daniel Lapinski, Michael Andolina, Blair Warner, John Lucas,     Re: Revised TDP - Mediation      N
                                   Eric Goodman, Matthew Linder, Jessica Lauria, Joseph Celentino, David         Privilege
                                   Molton, Ed Harron, Robert Brady, Kami Quinn, James Stang, Rob Orgel,
                                   Debra Grassgreen, Paul Mones, Evan Smola, Josh Schwartz, Ken Rothweiler
78.   6/30/21   Andrew O’Neill     James Stang, Daniel Lapinski, Michael Andolina, Blair Warner, John Lucas,     RE: Revised TDP - Mediation      N
                                   Eric Goodman, Matthew Linder, Jessica Lauria, Joseph Celentino, David         Privilege
                                   Molton, Ed Harron, Robert Brady, Kami Quinn, James Stang, Rob Orgel,
                                   Debra Grassgreen, Paul Mones, Evan Smola, Josh Schwartz, Ken Rothweiler
79.   6/30/21   David Kim          John Lucas, Eric Goodman, Matthew Linder, Jessica Lauria, Joseph Celentino,   [Webex] BSA Call                 N
                                   David Molton, Ed Harron, Robert Brady, Kami Quinn, James Stang, Rob
                                   Orgel, Debra Grassgreen, Paul Mones, Evan Smola, Josh Schwartz, Ken
                                   Rothweiler, Andrew O’Neill, Daniel Lapinski, Sean Manning, Bruce Griggs,
                                   Michael Andolina
80.   6/30/21   Rob Orgel          Andrew O’Neill, James Stang, John Lucas, Debra Grassgreen, Eric Goodman,      BSA: TDP: SOLs                   N
                                   David Molton, Michael Andolina, Jessica Lauria
                                                                            6
                                  Case 20-10343-LSS           Doc 7565-2          Filed 12/05/21      Page 8 of 10
81.   6/30/21   Andrew O’Neill    Rob Orgel, James Stang, John Lucas, Debra Grassgreen, Eric Goodman, David     RE: TDP: SOLs                       N
                                  Molton, Michael Andolina, Jessica Lauria
82.   6/30/21   John Lucas        Andrew O’Neill, Rob Orgel, Daniel Lapinski, Ken Rothweiler, Paul Mones,       RE: TDP: SOLs                       N
                                  Christopher Hurley, Evan Smola, Deborah Levy, Josh Schwartz, James Stang,
                                  Debra Grassgreen, Eric Goodman, David Molton, Michael Andolina, Jessica
                                  Lauria
83.   6/30/21   David Kim         John Lucas, Eric Goodman, Matthew Linder, Jessica Lauria, Joseph Celentino,   [Webex] BSA: TDP - SOLs             N
                                  David Molton, Ed Harron, Robert Brady, Kami Quinn, James Stang, Rob
                                  Orgel, Debra Grassgreen, Paul Mones, Evan Smola, Josh Schwartz, Ken
                                  Rothweiler, Andrew O’Neill, Daniel Lapinski, Sean Manning, Bruce Griggs,
                                  Michael Andolina, Blair Warner, Deborah Levy, Adam Slater, Emily Grim,
                                  Laura Baccash
84.   6/30/21   Eric Goodman      Andrew O’Neill, Jessica Lauria, Matthew Linder, Rob Orgel, John Lucas,        Revised TDP - Mediation Privilege   Y
                                  James Stang, Debra Grassgreen, Ed Harron, Robert Brady, Josh Schwartz, Ken
                                  Rothweiler, Deborah Levy, Daniel Lapinski, Sean Higgins, David Molton
85.   6/30/21   Daniel Lapinski   Andrew O’Neill                                                                RE: Revised TDP - Mediation         N
                                                                                                                Privilege
86.   6/30/21   Andrew O’Neill    Daniel Lapinski, Bruce Griggs, Sean Manning                                   RE: Revised TDP - Mediation         N
                                                                                                                Privilege
87.   6/30/21   Sean Manning      Andrew O’Neill, Daniel Lapinski, Bruce Griggs                                 RE: Revised TDP - Mediation         N
                                                                                                                Privilege
88.   6/30/21   Daniel Lapinski   Sean Manning, Andrew O’Neill, Bruce Griggs                                    RE: Revised TDP - Mediation         N
                                                                                                                Privilege
89.   6/30/21   Sean Manning      Daniel Lapinski, Andrew O’Neill, Bruce Griggs                                 RE: Revised TDP - Mediation         N
                                                                                                                Privilege
90.   6/30/21   Andrew O’Neill    Daniel Lapinski, Sean Manning, Bruce Griggs                                   RE: Revised TDP - Mediation         Y
                                                                                                                Privilege
91.   6/30/21   Eric Goodman      Andrew O’Neill, Matthew Linder, Jessica Lauria, Rob Orgel, Debra              Additional TDP Language -           N
                                  Grassgreen, John Lucas, James Stang, Ed Harron, Kami Quinn, David Molton,     Mediation Privilege
                                  Robert Brady
92.   6/30/21   Andrew O’Neill    Eric Goodman, Matthew Linder, Jessica Lauria, Rob Orgel, Debra Grassgreen,    RE: Additional TDP Language -       N
                                  John Lucas, James Stang, Ed Harron, Kami Quinn, David Molton, Robert          Mediation Privilege
                                  Brady
93.   6/30/21   Eric Goodman      Andrew O’Neill                                                                FW: Additional TDP Language -       N
                                                                                                                Mediation Privilege
94.   6/30/21   Andrew O’Neill    Eric Goodman                                                                  RE: Additional TDP Language -       N
                                                                                                                Mediation Privilege
95.   6/30/21   Eric Goodman      Andrew O’Neill, Matthew Linder, Jessica Lauria, Sean Higgins, Josh            Additional TDP Language -           N
                                  Schwartz, Anne Andrews, Daniel Lapinski, Adam Slater, Rob Orgel, Debra        Mediation Privilege
                                  Grassgreen, John Lucas, James Stang, David Molton, Ed Harron, Kami Quinn,
                                  Emily Grim
96.   6/30/21   Andrew O’Neill    Eric Goodman                                                                  RE: Additional TDP Language -       N
                                                                                                                Mediation Privilege

                                                                           7
                                    Case 20-10343-LSS            Doc 7565-2        Filed 12/05/21       Page 9 of 10
97.    6/30/21   Andrew O’Neill     Eric Goodman, Matthew Linder, Jessica Lauria, Michael Andolina, Laura          RE: Additional TDP Language -      Y
                                    Baccash, Blair Warner, Sean Higgins, Josh Schwartz, Anne Andrews, Daniel       Mediation Privilege
                                    Lapinski, Adam Slater, Rob Orgel, Debra Grassgreen, John Lucas, James
                                    Stang, David Molton, Ed Harron, Kami Quinn, Emily Grim
98.    6/30/21   Eric Goodman       Andrew O’Neill, Sean Higgins                                                   TDP - Mediation Privilege          N
99.    6/30/21   Andrew O’Neill     Eric Goodman, Sean Higgins                                                     RE: TDP - Mediation Privilege      N
100.   6/30/21   Eric Goodman       Andrew O’Neill, Sean Higgins, Josh Schwartz                                    TDP - Mediation Privilege          N
101.   6/30/21   Eric Goodman       Andrew O’Neill, Matthew Linder, Jessica Lauria, Rob Orgel, John Lucas,         Final Docs - Mediation Privilege   N
                                    David Molton
102.   6/30/21   Matthew Linder     David Molton, Eric Goodman, Tristan Axelrod, James Stang, John Lucas,          BSA Proposed Final Documents       Y
                                    Debra Grassgreen, Rob Orgel, Matthew Babcock, Robert Brady, Ed Harron,
                                    Kenneth Enos, Kami Quinn, Emily Grim, Mike Atkinson, Timothy Peach,
                                    Kevin Carey, Paul Finn, Timothy Gallagher, Jessica Lauria, Michael Andolina,
                                    Andrew O’Neill, Laura Baccash, Blair Warner, Brian Whittman, Carl Binggeli,
                                    Ernest Martin, Adrian Azer, Derek Abbott, Paige Topper, Richard Mason, Will
                                    Sugden, Douglas Mayer, Joseph Celentino, Mitchell Levy
103.   6/30/21   Eric Goodman       Matthew Linder, Andrew O’Neill, Jessica Lauria, Sean Higgins, Josh Schwartz    RE: BSA Proposed Final             N
                                                                                                                   Documents
104.   6/30/31   Andrew O’Neill     Eric Goodman, Matthew Linder, Jessica Lauria, Sean Higgins, Josh Schwartz      RE: BSA Proposed Final             N
                                                                                                                   Documents
105.   6/30/31   Eric Goodman       Andrew O’Neill, Matthew Linder, Jessica Lauria, Sean Higgins, Josh Schwartz    RE: BSA Proposed Final             N
                                                                                                                   Documents

106.   6/30/21   Eric Goodman       Andrew O’Neill, Matthew Linder, Jessica Lauria, Rob Orgel, Debra               Eric Goodman’s Zoom Meeting        N
                                    Grassgreen, Josh Schwartz, Sean Higgins, Daniel Lapinski, Deborah Levy,
                                    David Molton
107.   6/30/21   Eric Goodman       Andrew O’Neill, Matthew Linder, Jessica Lauria, Josh Schwartz, Daniel          TDP – Redline                      Y
                                    Lapinski, Sean Higgins, Deborah Levy, Rob Orgel, Debra Grassgreen, David
                                    Molton
108.   6/30/21   Andrew O’Neill     Eric Goodman, Matthew Linder, Jessica Lauria, Josh Schwartz, Daniel            RE: TDP – Redline                  Y
                                    Lapinski, Sean Higgins, Deborah Levy, Rob Orgel Debra Grassgreen, David
                                    Molton
109.   6/30/21   Rob Orgel          Andrew O’Neill, Eric Goodman, Matthew Linder, Jessica Lauria, Josh             RE: TDP – Redline                  N
                                    Schwartz, Daniel Lapinski, Sean Higgins, Deborah Levy, Debra Grassgreen,
                                    David Molton
110.   6/30/21   Daniel Lapinski    Rob Orgel, Andrew O’Neill, Eric Goodman, Matthew Linder, Jessica Lauria,       Re: BSA: TDP – Redline             N
                                    Josh Schwartz, Sean Higgins, Deborah Levy, Debra Grassgreen, David Molton

111.   6/30/21   Debra Grassgreen   Rob Orgel, Andrew O’Neill, Eric Goodman, Matthew Linder, Jessica Lauria,       Re: BSA: TDP -- Redline            N
                                    Josh Schwartz, Daniel Lapinski, Sean Higgins, Deborah Levy, Rob Orgel,
                                    David Molton

                                                                             8
                                  Case 20-10343-LSS          Doc 7565-2        Filed 12/05/21       Page 10 of 10
112.   6/30/21   Andrew O’Neill   Debra Grassgreen, Rob Orgel, Eric Goodman, Matthew Linder, Jessica Lauria,   Re: BSA: TDP -- Redline   N
                                  Josh Schwartz, Daniel Lapinski, Sean Higgins, Deborah Levy, Rob Orgel,
                                  David Molton




                                                                          9
